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                                                                                                     Rev. 2/2010

                UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                         FOR THE DISTRICT OF COLUMBIA




PAYPAL, INC.
____________________________________
      Plaintiff(s)

                                                                                        1:19-cv-03700-RJL
                                                                      Civil Action No. _______________
        vs.


CONSUMER FINANCIAL PROTECTION BUREAU, KATHY KRANINGER
____________________________________
        Defendant(s)


                                             AFFIDAVIT OF MAILING

            Charles J. Gazzola
        I, _________________________________________, hereby state that:
               13th
        On the __________        December
                          day of ________________________, 2019 I caused to be deposited in the
                                                           _______,
United States Mail a copy of the summons and complaint in the above captioned case, postage prepaid,
return receipt requested, restricted delivery, addressed to the following defendant:

                 CONSUMER FINANCIAL PROTECTION
                 BUREAU,
                 1700 G Street NW
                 Washington, DC 20552,

                                                                 70151660000119530775
        I have received the receipt for the certified mail, No. ______________________________
(attached hereto), indicating that delivery of the summons and complaint was made upon said defendant
       23
on the __________        December
                  day of ________________________, 2019
                                                   _______.
        I declare under penalty of perjury that the foregoing is true and correct.



              January 8, 2020
        ________________________                              _________________________________
                      (Date)                                                  (Signature)
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                                                                Tracking® Results Page 2 of 4


   USPS Tracking
                                           ®                                                                    FAQs   




                                                 Track Another Package                   +




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   Tracking Number: 70151660000119530775

   Your item was delivered to an individual at the address at 12:33 pm on December 23, 2019 in
   WASHINGTON, DC 20552.




     Delivered




                                                                                                                       Feedback
   December 23, 2019 at 12:33 pm
   Delivered, Left with Individual
   WASHINGTON, DC 20552

   Get Updates      




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       Text & Email Updates


                                                                                                                 
       Tracking History


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       Product Information



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                                 Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


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                                                                Tracking® Results Page 3 of 4



                                                                  FAQs




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